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 8
                                 UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
12   ANTITRUST LITIGATION
                                                     MDL No. 1917
13
                                                     INDIRECT-PURCHASER PLAINTIFFS’
14                                                   ADMINISTRATIVE MOTION TO SEAL
                                                     DOCUMENTS PURSUANT TO CIVIL
15                                                   LOCAL RULES 7-11 AND 79-5(d)_______

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18          Pursuant to Civil Local Rules 7-11 and 79-5(d), Plaintiffs hereby move for administrative

19   relief to file portions of the following documents under seal:

20                 Indirect-Purchaser Plaintiffs’ Response to Defendants’ Joint Objections to Report

21                  and Recommendation Regarding Motion to Strike the Proposed Expert Testimony

22                  of Dr. Janet S. Netz; and

23                 Indirect-Purchaser Plaintiffs’ Response to Defendants’ Joint Objections to the

24                  Report and Recommendation Regarding Class Certification.

25          This motion is supported by the Declaration of Mario N. Alioto in Support of Indirect-

26   Purchaser Plaintiffs’ Administrative Motion to File Documents Under Seal (“Alioto Decl.”).

27          Civil Local Rule 79-5(d) provides: “If a party wishes to file a document that has been

28   designated confidential by another party pursuant to a protective order, or if a party wishes to

     refer in a memorandum or other filing to information so designated by another party, the
           INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL DOCUMENTS
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 1   submitting party must file and serve an Administrative Motion for a sealing order . . . .”

 2   Here, Plaintiffs submit this Administrative Motion because they wish to file documents that

 3   contain either (a) material designated by Defendants pursuant to the Stipulated Protective Order

 4   (Dkt. 306, June 18, 2008) as “Confidential” or “Highly Confidential” or (b) analysis of,

 5   references to, or information taken directly from material designated by Defendants pursuant to

 6   the Stipulated Protective Order as “Confidential” or “Highly Confidential.” See Alioto Decl., ¶

 7   2. Plaintiffs take no position on whether the designated documents satisfy the requirements for

 8   sealing. Although Plaintiffs’ request is narrowly-tailored to include only the information that

 9   may require confidentiality, it is Defendants’ burden to show good cause for sealing the

10   designated documents by submitting a declaration showing good cause and a proposed order

11   within seven days after the lodging of the designated documents. See Civil Local Rule 79-5(d).

12   Because Civil Local Rule 79-5(d) prohibits the sealing of documents by agreement of the parties,

13   the parties are unable to enter into such a stipulation. See Civil Local Rules 7-11 (requiring

14   explanation of lack of stipulation), 79-5(d).

15

16   Dated: August 21, 2013                          Respectfully submitted,

17                                                   /s/ Mario N. Alioto
                                                      Mario N. Alioto
18
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                  INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                     DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
